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Case 1:17-cv-05070-WHP Document 11-1 Filed 08/08/17 Page 1 of 2

LAMARNA

OFFER oF EMPLOYMENT

We are pleased to confirm the terms of your position with N|ANHATTAN R\vER GRouP, LLC
r)/B/A LA MAR\NA (the ”Company") on the following terms.

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5)

You are being offered the position of [SERVER / BARTENDER / BUSSER / BAR BACK/
lNTERN CQCKTA|L §ERVER~/ OTHER]. (Circ/e one; if ”Other”, please describe position
here: `/:><:‘>\Rr!\;i> §Kiif@§ ` -)

You will work at our restaurant and lounge located at 348 Dyckman Street, New

York, NY 10034. The Company may change your position, schedule and duties from
time-to-time in its discretion.

You will be expected to comply with the Company’s personnel policies and

procedures as they may be adopted, revised or deleted from time to time in the
Company’s sole discretion

Your employment with the Company will be "at will” which means that either you or
the Company may terminate your employment at any time for any reason, with or
without cause. Your employment at-will status can only be modified in a written
agreement signed by you and by an officer of the Company.

ln addition to being at wil|, you acknowledge that your employment with La lVlarina

is temporary and seasonal, as such terms are defined in the Patient Protection and
Affordab|e Care Act,and does not entitle you to permanent employment You
understand that you are riot eligible to participate in any health insurance programs,
retirement programs, or other fringe benefit programs available to non-temporary
employees (unless otherwise required by law), and in the event you are allowed
participation in any benefit or program, then your continued participation may be
voluntarily withdrawn or terminated by La l\/|arina at any time.

You understand and acknowledge that your employment by the Company creates a
relationship of confidence and trust with respect to the Company’s confidential
information. At all times during your employment and thereafter, you will hold in
strictest confidence and will not disclose, use or publish any of the Company’s
confidential information unless an officer of the Company expressly authorizes such
in writing. You must obtain the Company’s written approval before publishing or
submitting for publication any material (written, verbal, or otherwise) that relates to
your work at the Company and/or incorporates any confidential information.

 

, ~ CaSe 1:17-cv-05070-WHP Document 11-1 Filed 08/08/17 Page 2 of 2
` 04012016

Confidential information includes any and all confidential and/or proprietary
knowledge, data or information of the Company, whether having existed, now
' existing, or to be developed during your employment

7) You hereby authorize the Company to use, reuse, and grant others the right to use
and reuse your name and likeness, voice and biographical information, and any
reproduction or simulation thereof, in any media now known or hereafter
developed (inc|uding but not limited to film, video, and digita|, and other tangible

and electronic media) for any purpose reasonably related to the Company’s
business.

8) As a further condition of employment, you agree (a) to waive the right to a jury trial
and (b) that all disputes between you and the Company shall be resolved by binding
arbitration, subject to the terms and conditions set forth in the i\/lutua| Agreement
to Arbitrateattached hereto.

This |etter, along with the attached I\/lutua| Agreement to Arbitrate, is the complete and
exclusive statement of the terms of your employment with the Company and
supersedes any other agreements or promises made to you by anyone, whether oral or
written. Changes in your employment terms require a written modification signed by an
officer of the Company. This offer is contingent on your satisfying the eligibility
requirements for employment in the United States.

We look forward to an enjoyable and productive work relationship.

Sincerely,

LA |VlARlNA

AccEPTED AND AGREED BY E qLoYEE:

Signature: /x 4» /%)

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Name: Cer .,/r`t.i{.//€/O wl 43\ j("/’ 122
Date: ""i' ( 2d l (

    

 

